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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       NEWNAN DIVISION

UNITED STATES OF AMERICA

v.
                                         CRIMINAL ACTION
TONIA WILLIAMS,
                                         NUMBER 3:16-cr-00003-TCB
      Defendant.

                                ORDER

      This case comes before the Court on Magistrate Judge Russell G.

Vineyard’s Final Report and Recommendation (the “R&R”) [455], which

grants in part and denies in part Defendant Tonia Williams’ motion for

a bill of particulars, [278], denies her motion to reveal confidential

informants, [279], recommends denying her motion to dismiss counts

19, 21, and 23, and her motion to dismiss the prosecution against her,

[276 & 295], and defers her alternative request to allow an entrapment

defense to the district judge. Williams has filed objections to the R&R

[507].
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I.    Legal Standard on Review of a Magistrate Judge’s R&R

      A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)).1 Where a party objects to an

R&R, a district judge “shall make a de novo determination of those

portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C).

The district judge must “give fresh consideration to those issues to

which specific objection has been made by a party.” Jeffrey S. v. State

Bd. of Educ., 896 F.2d 507, 512 (11th Cir. 1990). Those portions of the

R&R to which no objection is made need only be reviewed for clear

error. Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).2



      1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit

decisions issued before October 1, 1981, as well as all decisions issued after that
date by the Unit B panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667
F.2d 33, 34 (11th Cir. 1982); see also United States v. Schultz, 565 F.3d 1353, 1361
n.4 (11th Cir. 2009) (discussing continuing validity of Nettles).
      2 Macort addressed only the standard of review applied to a magistrate

judge’s factual findings, but the Supreme Court has held that there is no reason for
a district court to apply a different standard of review to a magistrate judge’s legal
conclusions. Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this
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      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on

matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions. 28

U.S.C. § 636(b)(1)(C). The district judge also has discretion to decline to

consider arguments that were not raised before the magistrate judge.

Williams v. McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009). Indeed, a

contrary rule “would effectively nullify the magistrate judge’s

consideration of the matter and would not help to relieve the workload



circuit have routinely applied a clear-error standard to both. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases).

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of the district court.” Id. (quoting United States v. Howell, 231 F.3d 615,

622 (9th Cir. 2000)).

II.    Analysis

       On January 6, 2016, a federal grand jury in the Northern District

of Georgia returned a seventy-five count indictment against twenty-five

defendants, all but one of whom were correctional officers employed by

the Georgia Department of Corrections (“GDOC”). The indictment

followed an investigation by the Federal Bureau of Investigation (“FBI”)

in which defendants allegedly accepted thousands of dollars in bribe

payments from a purported drug trafficker, who actually was an

undercover FBI confidential informant, in return for their assistance,

while wearing their GDOC uniforms, with and protection of the delivery

of multiple kilograms of sham cocaine and methamphetamine.

       The indictment alleges that on or about February 26, 2015, March

6, 2015, and March 13, 2015, Tonia Williams, one of the correctional

officers, and other co-Defendants named in the indictment “believed

that they were providing protection to a high-level drug trafficker who

was transporting multiple grams of cocaine and methamphetamine in

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the Locust Grove area, in the Northern District of Georgia, and

elsewhere . . . .” [1] at ¶¶ 10–11, 11–14. The indictment further charges

that Williams and the co-Defendants, “in exchange for payment, agreed

to wear their GDOC uniforms, or carry indicia of their statuses as

GDOC officers, and accompany the purported drug trafficker while he

delivered purported narcotics to other purported drug traffickers, or

personally transport the narcotics themselves.” Id. at ¶¶ 33–38.

      It is further alleged that Williams, along with the other co-

Defendants, “believed their uniformed presence would assist the drug

trafficker with his transport of narcotics by” providing protection all

while in their GDOC uniforms or while carrying indicia of their statuses

as GDOC officers. Id. at ¶¶ 12–13. The indictment also charges that

Williams and her co-Defendants accepted “thousands of dollars in bribe

payments from the purported drug trafficker” in return for their

actions. Id. at ¶ 14.

      Defendant Williams is charged with three counts of attempted

Hobbs Act extortion under color of official right, in violation of 18 U.S.C.

§ 1951(a), and three counts of attempted distribution of cocaine and

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methamphetamine. [1] at ¶ 12–14. She filed a motion to dismiss the

attempted Hobbs Act extortion charges, [276], and a motion to dismiss

the indictment based on outrageous government conduct and, in the

alternative, to allow an entrapment defense, [295], as well as a motion

for a bill of particulars, [278], and a motion to reveal confidential

informants, [279].

     On October 19, 2016, Judge Vineyard issued an R&R. [455]. It

granted in part and denied in part Williams’s motion for a bill of

particulars [278], denied her motion to reveal confidential informants

[279], recommended denying her motion to dismiss counts 19, 21, and

23 [276], denied her motion to dismiss prosecution on grounds of

outrageous conduct [295], and deferred her alternative request to allow

an entrapment defense to the district judge. [295].

     A.    William’s Motion to Dismiss the Hobbs Act Counts in
           the Indictment

     Williams first objects to the magistrate judge’s recommendation to

deny her motion to dismiss counts 19, 21, and 23 of the indictment.

These counts charge her with attempted Hobbs Act extortion under

color of official right, in violation of 18 U.S.C. § 1951(a). The R&R
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determined that the allegations of the indictment track the language of

the statute, covering every essential element of attempted Hobbs Act

extortion, and include a statement of facts that clearly provides

Williams with adequate notice of the charges that she must defend

against. [455] at 9–10. Williams argues that the contested counts are

deficient with respect to several elements of the charged offense of

attempted Hobbs Act extortion.

           1.    Defendant’s Uniformed Presence Sufficiently
                 States the Element of “Official Act”

     The R&R determined that the allegations in the indictment that

Williams and each co-Defendant in the contested counts “wore their

GDOC uniforms while accompanying a purported drug trafficker in

return for bribe payments in order to provide protection from other law

enforcement officers, provide sufficient details to ‘warrant an inference

that the jury found probable cause to support’ the ‘official action’ and

‘quid pro quo’ elements of the charge.” United States v. Fern, 155 F.3d

1318, 1325 (11th Cir. 1998). Williams objects to this finding on the

grounds that the magistrate judge ignored the rule that “[t]he omission

[of an essential fact of the crime] cannot be supplied by the intendment
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or implication, and the charge must be made directly, and not

inferentially, or by way of recital.” United States v. Seher, 562 F.3d 1344

(11th Cir. 2009) (citing United States v. Hess, 124 U.S. 483 (1888). The

Court does not agree.

     For one, the Eleventh Circuit has stated that an indictment is not

deficient on Fifth Amendment grounds if the facts alleged can warrant

an inference to support all of the elements required for a charge. Fern,

155 F.3d at 1325. Furthermore, the Seher case cited by Williams dealt

with any conflict between the Eleventh Circuit’s decision in Fern and

the Supreme Court’s decision in Hess—the case cited in Seher. The

Court stated that “the Court in Hess was addressing whether the

indictment sufficiently alleged the factual circumstances comprising a

mail fraud scheme, not the legal elements of the offense.” Seher, 562

F.3d at 1358.

     Similar to the Eleventh Circuit in Seher, Hess does not alter the

analysis in this case because the Court is concerned with whether the

indictment supports the legal elements (i.e., “official act”) of a Hobbs




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Act extortion charge. Therefore, the case law cited by Williams does not

persuade the Court.

     Williams also objects to the magistrate judge’s determination that

the Supreme Court’s decision in McDonnell v. United States, 136 S. Ct.

2355 (2016), is not dispositive of her claims. Williams contends that the

language in her indictment does not fall within McDonnell’s more

restrictive definition of an “official act.” Contrary to the R&R, Williams

argues that the indictment does not sufficiently charge her with Hobbs

Act extortion because McDonnell purportedly limits the government’s

discretion in defining what constitutes an “official act.”

     Williams cites the R&R’s reliance on the fact that in McDonnell,

the Court used the definition of an “official act” taken from the federal

bribery statute to define the “official act” element of a Hobbs Act

extortion, only because the parties in that case agreed to do so.

Williams does not state that this conclusion was incorrect, but instead

argues that here, Williams and the Government have also agreed to the

definition of “official action” espoused in McDonnell. However, the




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parties’ agreement as to McDonnell’s definition of “official act” does not

require dismissal of the indictment.

      For one, the decision in McDonnell still did not concern the

sufficiency of charges in an indictment. Instead, it dealt with an error in

jury instructions as to bribery charges. Furthermore, the Court does not

find that McDonnell warrants a conclusion that the indictment charges

here were insufficient for purposes of a motion to dismiss.

      First, the indictment specifically alleges that Williams and each

co-defendant in the contested counts “unlawfully obtained property

from another, in the form of United States currency not otherwise due

to them, with that person’s consent, in exchange for assisting with a

purported drug transaction, said consent having been induced under

color of official right.” [1] at ¶ 34–38.

      Second, the additional facts alleged in the indictment—which are

incorporated by reference into these counts—that the defendants wore

their GDOC uniforms while accompanying a purported drug trafficker

in return for bribe payments in order to provide protection from other

law enforcement officers, provide sufficient details to “warrant an

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inference that the jury found probable cause to support” the “official

action” and “quid pro quo” elements of the charge. Fern, 155 F.3d at

1325. McDonnell does not compel the dismissal of the indictment

because at this stage in the proceedings, the indictment charges provide

sufficient notice to Williams of the alleged “official act.”

      Williams also contends that the R&R does not contemplate two

issues raised in her complaint. According to Williams, the indictment

does not include any allegation that the victim—i.e., FBI source—

reasonably believed that Williams had the power to avoid law

enforcement interdiction simply by wearing her prison guard uniform.

[507] at 25 (citing United States v. Wingo, 723 F. Supp. 798 (N.D. Ga.

1989). Because the inquiry is whether the government official “exploited

the victim’s reasonable belief that the official had such power,” Williams

contends that the Government failed to allege the “official act” element.

Id. This argument is unavailing because the indictment also includes

the allegation that the purported drug trafficker paid Williams to wear

her uniform and protect the drugs involved in the transactions.

Therefore, the “victim” would not have paid the money if the source did

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not believe that Williams had the power to influence other law

enforcement officers.

      Furthermore, Williams contends that while the rule of lenity

applies to the use of ambiguous allegations in an indictment to

establish a Hobbs Act violation, no such ambiguity exists “from the face

of the indictment” here. For the reasons stated above, the indictment

does not require a “constrained interpretation” of the term “official act”

as contemplated by McDonnell.

      First, at this stage in the proceeding, McDonnell does not

affirmatively answer the question of whether the indictment adequately

charges attempted Hobbs Act extortion under color of official right.

Instead, “the full import of McDonnell will be . . . debated and

addressed at . . . trial . . . .” [455] at 17. Second, the Court is unable to

find that Williams “clearly lacks fair notice” as to the “official act” at

issue in which she is accused of engaging. See United States v. Slawson,

No. 1:14-cr-186, 2014 WL 5804191, at *5 (N.D. Ga. Nov. 7, 2014) (“In

judging the sufficiency of an indictment, courts are cautioned to use a

broad and enlightened standpoint of common sense and right reason

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rather than [a] narrow standpoint of petty preciosity, pettifogging,

technicality or hair splitting fault finding.”). The allegations provide

that not only did Williams accept bribes in exchange for assisting with

the purported drug transaction, but she also wore her GDOC uniform

while accompanying the purported drug trafficker. This sufficiently

warrants an inference of official act to satisfy this element of the Hobbs

Act extortion charge.

           2.    The Hobbs Act Counts Are Not Duplicitous

     Williams also objects to the R&R’s recommendation because

counts 19, 21, and 23 are duplicitous by each charging her and a co-

Defendant with the offense of Hobbs Act extortion. Fed. R. Crim. P. 8(b)

states that the joinder of two defendants in the same count does not

render the count duplicitous because an “indictment . . . may charge 2

or more defendants if they are alleged to have participated in the same

act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses.” Williams contends that the R&R

failed to demonstrate how she and her co-defendant in the same charge




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participated in the “same act and transaction” pursuant to Rule 8(b).

This argument is without merit.

     The seventy-five-count indictment involves a single investigation

involving twenty-five defendants accepting bribe payments from a

purported drug trafficker in return for their assistance with and

protection of the delivery of the purported drugs. The indictment is

based on a series of events and transactions that all relate to the overall

investigation. The individual events and acts by the various defendants

constitute the overarching operation. It is evident that Williams and the

co-defendants participated in at least the “same series of acts or

transactions” by assisting the purported drug trafficker with assistance

and protection of the delivery of the purported drugs.

     Second, contrary to Williams’ assertions, the dangers attributable

to a duplicitous count are not present here, especially in light of her

trial being severed from the other defendants. See United States v.

Schlei, 122 F.3d 944, 977 (11th Cir. 1997) (describing the dangers

associated with duplicitous counts). First, the jury will be deciding

unanimously whether Williams violated § 1951(a) independently from

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the other defendants in the indictment. Second, Williams will not be

prejudiced by double jeopardy because each count only charges her with

one attempted Hobbs Act extortion under color of right. Finally, any

concern with the admissibility of evidence between Williams and co-

Defendants is not an issue with this severed trial.

     For these reasons, the Court adopts the R&R’s recommendation

dismissing Williams’s motion to dismiss counts 19, 21, and 23.

     B.    Williams’ Motion to Dismiss the Prosecution on
           Grounds of Outrageous Government Conduct and in
           the Alternative Motion to Allow Entrapment Defense

           1.    Outrageous Government Conduct

     Williams contends that the magistrate judge erred in

recommending denial of her motion to dismiss based on outrageous

government conduct. Williams claims that the “degree of governmental

participation in the offenses charged in this indictment went beyond

mere entrapment and amounted to outrageous government conduct.”

[295] at 17. Williams refers specifically to the Government’s targeting of

economically depressed prison workers who had not previously been




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engaged in criminal activity by tempting them to do so with the offer of

tremendous economic reward.

     Williams first argues that the magistrate judge erred in stating

that “the Eleventh Circuit has never acknowledged the existence of the

outrageous government conduct doctrine.” [507] at 5. However, the R&R

does not say this. Instead, the R&R states, and is correct, that “no case

has been dismissed by the Supreme Court or the Eleventh Circuit based

on a finding of outrageous government conduct.” [455] at 27. The

Eleventh Circuit recognizes the defense of outrageous government

conduct, but the defense has not been the basis for a dismissal of an

indictment in the Eleventh Circuit.

     Second, Williams claims that the magistrate judge mistakenly

relied on Williams’s recruitment of other prison guards to join in the

criminal conduct. [455] at 30. Williams argues that this was incorrect as

a matter of law because in evaluating a claim of outrageous government

conduct, the Court is to focus upon the conduct of the Government

without regard to the alleged actions of the defendant. See United

States v. Restrepo, 930 F.2d 705, 712 (9th Cir. 1991). Even if the R&R

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impermissibly focused on Williams’s recruitment alone, it is clear that

the R&R’s conclusion was based on the totality of the circumstances.

Further, Williams’s recruitment of other officers shows that Williams

did not only provide “meager assistance,” as Williams contends in her

next objection. Recruiting Defendants to assist in the operation shows

that the Government was not running the entire operation but instead

was relying on others to help with security while the transaction took

place.

     Further, Williams emphasizes that substantial evidence belies the

magistrate judge’s finding that the Government did not “[run] the

entire operation with only meager assistance from the defendants” or

that the Government only provided “an opportunity” for Williams to

participate in criminal activity. [455] at 30–31. The Court agrees with

the R&R and finds that Williams’s participation in the sham drug

transactions “was the result of [her] activity, not the Governments.”

Durham, 106 F. Supp. 3d 1301, 1307 (N.D. Ga. 2015). Williams has

failed to show that the Government “ran the entire operation with only

meager assistance from the defendants.” Tobias, 662 F.2d at 386.

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Williams and the other Defendants supplied their uniformed presence

to assist and protect the transportation of the drugs. See States v.

Sanchez, 138 F.3d 1410, 1413 (11th Cir. 1998) (noting that even though

the Government supplied the drugs, this does not “necessarily

constitute misconduct”). Providing the uniforms and assistance were an

important part of the sham drug operation, and Williams provided both.

     Finally, Williams also bases her objection on the magistrate

judge’s reliance on Sanchez, 138 F.3d at 1410. She contends that this

case is distinguishable from Sanchez. The Court does not agree.

Williams argues that she was involved due to instigation from the

Government. However, Williams was recruited, not by the confidential

informant, but by a co-Defendant. In addition, Williams contends that

the Government provided her with everything necessary to participate

in the entire operation. However, as shown above, Williams provided

the security and the uniform, which were both integral aspects of the

operation.




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      For the foregoing reasons, the Court finds that the R&R’s

conclusion was correct and is not persuaded that the Government’s

actions in the instant case warrant the dismissal of the prosecution.

            2.      Entrapment Defense

      In the alternative to her claim of outrageous conduct, Williams

objects to the magistrate judge’s ruling that Williams’s entrapment

defense is premature and should be deferred to the district judge to be

decided at trial.

      In accordance with the R&R’s recommendation, the Court does not

find that the evidence entitles Williams to a pre-trial finding of

entrapment as a matter of law. See United States v. McGill, No. 1:14-cr-

167-WSD, 2014 WL 4829303, at *5 (N.D. Ga. Sept. 29, 2014) (“An

entrapment defense is a question for the jury, unless the evidence is so

clear and convincing that it may be ruled on by a trial judge as a matter

of law.”); see also United States v. Williams, No. 6:13-cr-26-Orl-36TBS,

2014 WL 117091, at *4 (M.D. Fla. Jan. 13, 2014) (emphasizing that no

court in this Circuit has found entrapment as a matter of law before a

case goes to trial). The Court also agrees with the magistrate judge’s

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recommendation that the defense of entrapment is premature. See

McGill, 2014 WL 4829303, at *5 (citing United States v. Gates, 351 F.

App’x 362, 366 (11th Cir. 2009) (“[Generally,] entrapment is not an

appropriate issue to consider in a pre-trial motion to dismiss the

indictment.”).

     C.    Williams’s Motion In Limine and for Severance of
           Defendants

     Williams also filed a motion in limine and for severance of

Defendants and counts. [277]. Williams is scheduled for her own

individual trial before this Court. Because she is currently severed from

all remaining Defendants and counts, there are no Bruton issues.

Williams’s objections to this aspect of the R&R are therefore moot.

III. Conclusion

     For the foregoing reasons, the Court adopts as its Order the R&R.

[455]. Williams’s motion to dismiss counts 19, 21, and 23 [276] is

denied, her motion to dismiss prosecution on grounds of outrageous

Government conduct [295] is denied, her motion in limine, motion to

sever counts, and motion to sever Defendants [277] is denied as moot,

and her motion for an entrapment defense is premature [295].
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  IT IS SO ORDERED this 16th day of March, 2017.




                               ____________________________________
                               Timothy C. Batten, Sr.
                               United States District Judge




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